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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    VERINATA HEALTH, INC., et al.,                    Case No. 12-cv-05501-SI
                                   8                   Plaintiffs,
                                                                                          ORDER RE MOTION TO STRIKE
                                   9            v.                                        PORTIONS OF THE EXPERT REPORT
                                                                                          OF DR. CANTOR
                                  10    ARIOSA DIAGNOSTICS, INC, et al.,
                                                                                          Re: Dkt. No. 518
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs Illumina, Inc. and Verinata Health, Inc. move to strike portions of defendant

                                  14   Ariosa Diagnostic, Inc.’s expert Dr. Charles Cantor’s report based on collateral estoppel. Dkt. No.

                                  15   518. In particular, plaintiffs seek to strike Dr. Cantor’s opinion that U.S. Patent Publication No.

                                  16   2002/0172946 (“Fan”), in combination with U.S. Patent No. 6,316,229 (“Lizardi”), renders

                                  17   obvious U.S. Patent No. 7,955,794 (“the ’794 patent”). Id. at 1. In response, Ariosa represents

                                  18   that it will not argue at trial that the combination of Fan and Lizardi renders obvious any claim of

                                  19   the ’794 patent. Dkt. No. 553. Therefore, the Court DENIES the motion as moot.

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                                  21          IT IS SO ORDERED.

                                  22   Dated: January 3, 2018

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                                                                                       SUSAN ILLSTON
                                  24                                                   United States District Judge
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